                       IN THE SUPREME COURT OF THE STATE OF NEVADA


                DANIEL HOWARD WEISS,                                No. 69863    FILED
                                  Appellant,
                              vs.                                                APR 1 9 2016
                THE STATE OF NEVADA,                                            TRACIE K. LINDEMAN
                                                                             CLERK OF SUPREME 001 RT
                                  Res • onden .                             SY,..aj_Ste47,_
                DANIEL HOWARD WEISS,                                No. 69864 DEPUTY CLER
                                  Appellant,
                              vs.
                THE STATE OF NEVADA,
                                  Respondent.
                DANIEL HOWARD WEISS,                                No. 69865
                                  Appellant,
                              vs.
                THE STATE OF NEVADA,
                                  Respondent.
                DANIEL HOWARD WEISS,                                No. 69866
                                  Appellant,
                              vs.
                THE STATE OF NEVADA,
                                  Res ondent.
                DANIEL HOWARD WEISS,                                No. 69867
                                  Appellant,
                              vs.
                THE STATE OF NEVADA,
                                  Res • ondent
                DANIEL HOWARD WEISS,                                No. 69868
                                  Appellant,
                              vs.
                THE STATE OF NEVADA,
                                  Res • ondent.

                                    ORDER DISMISSING APPEALS
                           These are appeals from judgments of conviction. Second
                Judicial District Court, Washoe County; David A. Hardy, Judge.
                           Appellant's counsel has filed a notice of voluntary withdrawal
                of these appeals. Counsel advises this court that he has informed
SUPREME COURT
      OF
    NEVADA

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                appellant of the legal effects and consequences of voluntarily withdrawing
                these appeals, including that appellant cannot hereafter seek to reinstate
                these appeals, and that any issues that were or could have been brought in
                these appeals are forever waived. Having been so informed, appellant
                consents to a voluntary dismissal of these appeals. Cause appearing, we
                            ORDER these appeals DISMISSED.'




                                                                                  J.
                                                   Hardesty



                                                   Saitta


                                                              jek.0.4.            J.
                                                  Pickering




                cc: Hon. David A. Hardy, District Judge
                     Washoe County Public Defender
                     Attorney General/Carson City
                     Washoe County District Attorney
                     Washoe District Court Clerk




                      'Because no remittitur will issue in these matters, see NRAP 42(b),
                the one-year period for filing a post-conviction habeas corpus petition
                under NRS 34.726(1) shall commence to run from the date of this order.


SUPREME COURT
        OF
     NEVADA


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